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     PEDRO LOPEZ, JR.
 6

 7

 8                         IN THE UNITED STATES DISTRICT COURT
 9                        EASTERN DISTRICT OF CALIFORNIA, FRESNO
10                                          * * * * *
11
                                                  ) Case No.: CR-F-03-5165 OWW
12   UNITED STATES OF AMERICA,                    )
                                                  ) STIPULATION AND ORDER CONTINUING
13                 Plaintiff,                     ) SENTENCING HEARING
                                                  )
14        vs.                                     ) NOTICE TO COUNSEL – DATE IN
     PEDRO LOPEZ, JR.,                            ) STIPULATION HAS BEEN CHANGED
15                                                )
                   Defendant.                     )
16                                                )
17

18         IT IS HEREBY STIPULATED between the Defendant, PEDRO LOPEZ,
19   JR., by and through his legal counsel, Anthony P. Capozzi and Roger
20   J.   Rosen,    and    the    Plaintiff,      United    States   of    America,      by   and
21   through Assistant United States Attorney Kathleen A. Servatius, that
22   the sentencing hearing set for Monday, July 11, 2005, be continued
23   to Monday, July 25, 2005, at 1:30 p.m.
24

25         The parties further agree that any delay resulting from this
26   continuance       shall     be   excluded   on   the   basis    of   Title    18,   United
27   States    Code,    Section 3161(h)(8)(A), to wit: The ends of justice
28

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                                                                             Case No. 03-5165 OWW
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 1   served by taking such action outweighs the best interest of the
 2   public and the defendant in a speedy trial.
 3

 4                                               Respectfully submitted,
 5   Dated:     June 22, 2005                         /s/ Anthony P. Capozzi
 6                                               Anthony P. Capozzi,
                                                 Attorney for Defendant,
 7                                               Pedro Lopez, Jr.
 8

 9

10   Dated:     June 22, 2005                         /s/ Roger J. Rosen
                                                 Roger J. Rosen,
11
                                                 Attorney for Defendant,
12                                               Pedro Lopez, Jr.

13

14
     Dated:     June 22, 2005                       /s/ Kathleen A. Servatius
15                                               Kathleen A. Servatius,
                                                 Assistant U.S. Attorney
16

17

18
                                              ORDER

19          IT IS SO ORDERED.      Good cause having been shown, the Sentencing
20   Hearing set for July 11, 2005, is vacated and continued to July 25,
21
     2005   August    1,   2005   at   1:30   p.m.     Additionally,   time    shall   be
22
     excluded by stipulation from the parties and pursuant to 18 USC §§
23

24
     3161(h)(A).

25   Dated:     June _27, 2005
                                                 /s/ OLIVER W. WANGER
26

27
                                                 Honorable Oliver W. Wanger
28                                               U.S. District Court Judge

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